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PROB 35 (ED/CA)
                        Report and Order Terminating Supervised Release
                                Prior to Original Expiration Date


                             UNITED STATES DISTRICT COURT
                                                FOR THE


                          EASTERN DISTRICT OF CALIFORNIA

      UNITED STATES OF AMERICA                       )
                                                     )
                        v.                           )       Docket No: 0972 2:08CR00525-001
                                                     )
                  RUDY DUARTE                        )
                                                     )



On October 9, 2009, the above-named was placed on Supervised Release for a period of 36
months.

The supervisee has complied with the rules and regulations of Supervised Release and is no longer
in need of supervision. It is accordingly recommended that the supervisee be discharged from
supervision.

                                         Respectfully submitted,

                                            /s/ Julie A. Fowler

                                          JULIE A. FOWLER
                                     United States Probation Officer

Dated:       December 9, 2013
             Roseville, California
             JAF:aph



                             /s/ Michael A. Sipe
REVIEWED BY:                 MICHAEL A. SIPE
                             Supervising United States Probation Officer


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PROB 35 (ED/CA)


Re:     DUARTE, Rudy
        Docket No: 0972 2:08CR00525-001
        Report and Order Terminating Supervised Release
        Prior to Original Expiration Date




                                    ORDER OF COURT

Pursuant to the above report, it is ordered that Rudy Duarte be discharged from Supervised
Release, and that the proceedings in the case be terminated.




December 9, 2013                               /s/John A. Mendez for
Date                                          HONORABLE WILLIAM B. SHUBB
                                                     United States District Judge



Attachment:       Recommendation


cc:     First AUSA – Phillip A. Talbert




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                                                                                         Rev. 05/2013
                                                            EARLY TERMINATION ~ ORDER (PROB35).DOTX
